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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA

__________________________________________

JANE DOE,                                             :
                         Plaintiff,                   :
                                                      :
                         v.                           :      Civil No. 5:20-cv-00377-JMG
                                                      :
JOHN DOE 1, JOHN DOE 2, and                           :
JOHN DOE 3,                                           :
                  Defendants.                         :
__________________________________________



                                             ORDER

       AND NOW, this 13th day of March, 2023, it having been reported that the issues between
the parties in the above action have been settled and upon Order of the Court pursuant to the
provisions of Rule 41.1(b) of the Local Rules of Civil Procedure of this Court, it is:


ORDERED that the above action is DISMISSED with prejudice, pursuant to the agreement of
counsel without costs.

                                                      George Wylesol
                                                      Clerk of Court


                                                      By:


                                                      /s/ Brian R. Dixon
                                                      Brian R. Dixon
                                                      Deputy Clerk to Judge John M. Gallagher
